
PER CURIAM:
*1213Writ granted. Code of Criminal Procedure art. 729.7(A), pertaining to protection of witness identity, provides that "[t]he court shall maintain the deletion or excision if, at an ex parte proceeding which shall be recorded and maintained under seal, the party excising or deleting such information makes a prima facie showing that the witness's safety may be compromised by the disclosure." Defendant here contended the district court erred in making that determination. Although the court of appeal declined to exercise its supervisory jurisdiction, State v. Klein , 18-0722 (La. App. 8/31/18) (unpub'd), it appears that the court made that decision without reviewing the transcript of the ex parte proceeding conducted in the district court, which is required by Article 729.7 to be maintained under seal and to which defendant lacks access. Accordingly, we grant defendant's application to remand to the court of appeal with instructions to reconsider defendant's application after it orders the district court to furnish it with the transcript to be filed under seal. In addition, on remand the court of appeal should also afford the State the opportunity to respond.
REMANDED
GUIDRY, J., would deny.
CLARK, J., would deny.
